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                                                  APPENDIX TO COMPLAINT


I.      STATEMENTS REGARDING VALEANT’S BUSINESS MODEL AND FINANCIAL RESULTS

Document/“Maker(s)” of the         Statements Regarding Valeant’s Business Model             Why Statements Were False or Misleading When Made
Statement(s)                       and Financial Results


Goldman Sachs Healthcare CEOs      “The AF program was I think rolled out a little bit       Pearson’s statement was false or misleading when made,
Unscripted: A View from the Top    too quickly and there were lots of bugs in it and we      for the reasons detailed in the Complaint. See, e.g., ¶¶ 34-
Conference on January 7, 2014      have a next generation that we’re going to – which        139. In sum:
                                   we are implementing, which we aren’t going to talk
                                   about the details of, but net-net I think Solodyn, it’s
Maker(s) of statement:                                                                       (1) Valeant’s business strategy relied on a series of
                                   a lot less important to us now than when we – than it
Pearson; Valeant                                                                             deceptive practices, which drove the Company’s revenues
                                   was to Medicis obviously.”
                                                                                             from its key dermatology, neurology, and other products.
                                                                                             Those practices included massive price increases for
                                                                                             Valeant drugs, which allowed the Company to meet
                                                                                             financial targets; routing patients into Valeant’s secret
                                                                                             network of captive pharmacies that were falsely made to
                                                                                             appear independent; using patient assistance and public
                                                                                             relations strategies (such as waiving patient copays) to
                                                                                             minimize patient complaints; and concealing those practices
                                                                                             from payors (including insurance companies), physicians,
                                                                                             and others to obtain reimbursement for Valeant’s high-
                                                                                             priced drugs.

                                                                                             (2) Defendants’ business model relied on improper
                                                                                             practices by Philidor RX Services, LLC, a specialty mail-
                                                                                             order pharmacy Defendants set up along with a host of shell
                                                                                             companies owned through Philidor, which Valeant used to
                                                                                             acquire interests in additional retail pharmacies throughout
                                                                                             the United States. Unbeknownst to investors, (i) Philidor
                                                                                             was formed to increase the sales prices of Valeant drugs
                                                                                             and avoid substitution of those drugs with less-expensive



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                                                                                               generic competitors; (ii) Valeant employees worked at
                                                                                               Philidor; (iii) Valeant was Philidor’s only client and had the
                                                                                               ability to shutter its business; (iv) Valeant paid Philidor’s
                                                                                               owners $100 million for the right to acquire Philidor for $0;
                                                                                               (v) Valeant was consolidating Philidor’s financial results as
                                                                                               its own, and had obtained explicit rights to direct Philidor’s
                                                                                               activities; and (vi) Valeant materially increased its sales
                                                                                               volume through Philidor as Philidor expanded its network
                                                                                               of pharmacies and began selling drugs in states where it did
                                                                                               not obtain, or had been denied, a license.

                                                                                               (3) Valeant’s reported revenues, earnings per share
                                                                                               (“EPS”), and financial forecasts to investors during the
                                                                                               Relevant Period depended on the Company’s ability to
                                                                                               continue to conceal its deceptive practices and did not
                                                                                               accurately portray the Company’s financial performance
                                                                                               and business prospects. To that end, Valeant improperly
                                                                                               recognized Philidor-related revenue, in violation of U.S.
                                                                                               Generally Accepted Accounting Principles (“GAAP”),
                                                                                               causing Valeant’s revenues, net income, and EPS to be
                                                                                               materially misstated during the Relevant Period.

                                                                                               (4) Valeant lacked adequate internal controls, as well as
                                                                                               compliance and training programs, and contrary to their
                                                                                               representations to investors, Defendants were not
                                                                                               committed to compliance with governing legal, regulatory,
                                                                                               or contractual obligations.

                                                                                               (5) Defendants’ undisclosed practices significantly
                                                                                               increased Valeant’s exposure to, among other things,
                                                                                               government investigations, regulatory sanctions, criminal
                                                                                               charges, reputational harm, and decreased sales.


4Q13 and FY 2013 earnings press release   “Valeant’s Developed Markets revenue was $1.6        Same as above.
issued on February 27, 2014               billion, up 122% as compared to the fourth quarter
                                          of 2012. This increase was primarily led by the




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Maker(s) of statements:                 acquisition of Bausch + Lomb, which was
Valeant                                 completed on August 5, 2013. Same store organic
                                        product sales growth was 13%, excluding the impact
                                        of the genericization of the Zovirax franchise, Retin-
                                        A Micro and BenzaClin. The growth in the
                                        Developed Markets was driven by continued growth
                                        in certain dermatology prescription brands, our
                                        aesthetics, consumer, neurology and other and oral
                                        health portfolios, and our Canadian business unit.”
4Q13 and FY 2013 earnings conference    “When we acquired Medicis, I think we mentioned          Same as above.
call on February 27, 2014               that we picked up a couple of orphan drugs, which
                                        they weren’t marketing optimally. And so we have
                                        been able to take advantage of that and grow those
Maker(s) of statements:
                                        products.”
Pearson; Valeant
2013 Form 10-K issued on February 28,   (1) “Generic versions are generally significantly less   Same as above.
2014                                    expensive than branded versions, and, where
                                        available, may be required in preference to the
                                        branded version under third party reimbursement
Maker(s) of statements:
                                        programs, or substituted by pharmacies,” and “[t]o
Pearson (signed); Schiller (signed);    successfully compete for business with managed
Valeant                                 care and pharmacy benefits management
                                        organizations, we must often demonstrate that our
                                        products offer not only medical benefits but also
                                        cost advantages as compared with other forms of
                                        care.”

                                        (2) “The growth of our business is further
                                        augmented through our lower risk research and
                                        development model. This model allows us to
                                        advance certain development programs to drive
                                        future commercial growth, while minimizing our
                                        research and development expense. This is achieved
                                        primarily as follows:
                                            •    focusing our efforts on niche therapeutic




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                                                      areas such as eye health, dermatology and
                                                      podiatry, aesthetics, and dentistry,
                                                      including life-cycle management programs
                                                      for currently marketed products; and
                                                 •    acquiring dossiers and registrations for
                                                      branded generic products, which require
                                                      limited manufacturing start-up and
                                                      development activities.”


1Q14 earnings press release issued on        (1) Reporting “an increase of 77% over the prior         Same as above.
May 8, 2014                                  year,” which “[e]xceeded our expectations,” along
                                             with “[p]ositive organic growth in the U.S. . . .”;
Maker(s) of statement:                       (2) Pearson: “[o]ur first quarter results demonstrate
Pearson; Valeant                             the strong, durable nature of our diversified business
                                             model.”

1Q14 earnings conference call on May 8,      “I think the other thing is – that we’ve worked on is    Same as above.
2014                                         a much more sophisticated alternate fulfillment
                                             system that we’ve implemented the US, which is
                                             really helping. Those scripts don’t show up in IMS,
Maker(s) of statement:
                                             in terms of what’s doing, but we’re very pleased that
Pearson; Valeant                             Solodyn is now growing. And we’ve applied that to
                                             a number of our other products, which is also
                                             helping in terms of the growth.”
1Q14 Form 10-Q issued on May 9, 2014         “The growth of our business is further augmented         Same as above.
                                             through our lower risk research and development
                                             model, which allows us to advance certain
Maker(s) of statements:
                                             development programs to drive future commercial
Pearson (signed); Schiller (signed);         growth, while minimizing our research and
Valeant                                      development expense.”
2Q14 earnings press release issued on July   (1) Valeant: “2014 Second Quarter Total Revenue          Same as above.
31, 2014                                     [of] $2.0 billion; an increase of 86% over the prior
                                             year.”
Maker(s) of statements:




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Pearson; Valeant                            (2) Pearson: “Valeant once again delivered strong
                                            quarterly results and, as expected, organic growth
                                            has accelerated from the first quarter. As we look
                                            across the entire business, I have never been more
                                            confident about the growth trajectory across the
                                            entire company.”

2Q14 earnings conference call on July 31,   “Turning to medical dermatology. . . The business          Same as above.
2014                                        has now stabilized, with a new management team.
                                            And the branded market share has increased across
                                            all key Medicis products since the beginning of
Maker(s) of statements:
                                            2014. This includes Solodyn, Ziana, and
Pearson; Valeant
                                            Zyclara.

                                            Moving to our performance by business. I would
                                            like to touch on the growth and performance of our
                                            developed market operations, excluding the Bausch
                                            & Lomb businesses. In the US, dermatology grew
                                            approximately 7% in the quarter, including the
                                            headwinds from generics, driven by the continued
                                            growth of Acanya, Targretin, and Elidel.
                                                                        ***
                                            Given the strong reception from both physicians and
                                            patients of our recently launched products Jublia,
                                            Ultra, and Luzu, each of them has exceeded our
                                            expectations. As I mentioned, after only three weeks
                                            of being available, last week’s script demand for
                                            Jublia exceeded over 1,300 scripts. This trend is
                                            expected to accelerate, as regulatory approval for
                                            marketing materials are received and our
                                            dermatology sales forces is appropriately trained.
                                                                        ***
                                            People - a lot of assertions are that it’s all about
                                            price, but it’s not. . . . So I think what we’re talking
                                            about earlier this morning is probably we will report




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                                           what the volume and price parts of our organic
                                           growth are. And I suspect it will be surprising to
                                           people because I think volume is a much larger
                                           piece of our organic growth than most people would
                                           assume it is . . . .Our sales force in dermatology now
                                           has been stable for a few quarters and . . . all our
                                           promoted products in dermatology are growing.”
2Q14 Form 10-Q issued on August 1,         “The growth of our business is further augmented         Same as above.
2014                                       through our lower risk research and development
                                           model, which allows us to advance certain
                                           development programs to drive future commercial
Maker(s) of statements:
                                           growth, while minimizing our research and
Pearson (signed); Schiller (signed);       development expense.”
Valeant
3Q14 earnings press release issued on      “Total Revenue [of] $2.1 billion . . . GAAP EPS [of]     Same as above.
October 20, 2014                           $0.81, [and] Cash EPS $2.11.” The release also
                                           reported net income of $275.4 million. . . . “Total
                                           same store sales organic growth was 19%, including
Maker(s) of statements:
                                           impact from generics.”
Valeant
3Q14 earnings conference call on October   “Revenues for our dermatology business, including        Same as above.
20, 2014                                   the recent Precision acquisition, grew 33% quarter
                                           over quarter. The turnaround of our dermatology
                                           business is continuing. New leadership has brought
Maker(s) of statements:
                                           stability to the sales force and has led to innovative
Pearson; Valeant                           new marketing approaches that are working well.
                                           This has resulted in market share and revenue gains
                                           across the portfolio, including launch products.

                                           Elidel, Acanya, Zyclara, and Ziana have all gained
                                           market share since the beginning of 2014. Elidel has
                                           had an exceptional year, increasing market share
                                           from 45% to 52%. And it has overtaken Protopic as
                                           the leader in this category.




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                                             After years of declines Solodyn market share has
                                             stabilized. On the new products side, both Jublia and
                                             Luzu quickly gained share, with Jublia reaching 7%
                                             script share of the total onychomycosis market, both
                                             branded and generics. And Luzu accelerated its
                                             script share to 13% of the branded topical antifungal
                                             market. In addition, quarter-over-quarter result
                                             growth for all of our dermatology promoted brands
                                             was over 40%.”
3Q14 Form 10-Q filed on October 24,          (1) Reporting 3Q14 revenue of $2.056 billion, net        Same as above.
2014                                         income of $275.4 million, and GAAP EPS of $0.81;.
                                             (2) “The growth of our business is further
Maker(s) of statements:                      augmented through our lower risk research and
Pearson (signed); Schiller (signed);         development model, which allows us to advance
Valeant                                      certain development programs to drive future
                                             commercial growth, while minimizing our research
                                             and development expense. We believe this strategy
                                             will allow us to maximize both the growth rate and
                                             profitability of the Company and to enhance
                                             shareholder value.”


2015 financial guidance conference call on   “We demonstrated tremendous organic growth               Same as above.
January 8, 2015                              improvement in 2014 . . .
                                                                      ***
Maker(s) of statements:                      In conclusion, all the successes from 2014 and our
Pearson; Valeant                             [process] for 2015 and beyond continue to validate
                                             that Valeant’s business model is both sustainable
                                             and value creating. Our robust organic growth
                                             profile is evidenced by our ability to deliver double-
                                             digit organic growth, not only in 2014 and 2015 but
                                             strong organic growth for the foreseeable future.”
4Q14 and FY14 press release issued on        (1) For 4Q14, “[r]evenue [of] $2.3 billion . . .         Same as above.
February 22, 2015                            GAAP EPS [of] $1.56, [and] Cash EPS [of] $2.58.”
                                             For the full year 2014, “Revenue [of] $8.3



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                                         billion . . . GAAP EPS [of] $2.67, [and] Cash EPS
Maker(s) of statements:                  [of] 8.34, (excluding Allergan gain).” The release
                                         also reported 4Q14 net income of $534.9 million
Pearson; Valeant
                                         and 2014 net income of $913.5 million, and “Total
                                         Same Store Sales organic growth” was 16% and
                                         13% for the 4Q14 and FY 2014, respectively;
                                         (2) Pearson represented that Valeant’s strategy “is
                                         paying off for all of our stakeholders” and reporting
                                         “[o]utstanding growth in the U.S., most notably
                                         dermatology.”

4Q14 and FY14 earnings conference call   (1) “[r]evenues for our dermatology business were       Same as above.
on February 23, 2015                     very strong and increased 70% year-over-year”;
                                         (2) “The outstanding work of our sales teams,
Maker(s) of statements:                  implementation of innovative marketing approaches,
Schiller; Valeant                        great leadership, a portfolio of great products, and
                                         our four new launch products have contributed to the
                                         turnaround and the outstanding results in our
                                         dermatology business in Q4 and 2014.
                                         Core products such as Zyclara, Elidel, and the RAM
                                         franchise continued their strong growth. And
                                         Solodyn grew in Q4 and grew 5% for all of 2014,
                                         after a tough year in 2013.

                                         Jublia continues its rapid growth trajectory and
                                         reported more than 20,000 weekly scripts for the last
                                         reported weekly sales report. This yields an
                                         annualized run rate of greater than $250 million for
                                         the product.”


2014 Form 10-K issued on February 25,    (1) Reporting 4Q14 revenue of $2.28 billion, net        Same as above.
2015                                     income of $534.9 million, and GAAP EPS of $1.56,
                                         and full year 2014 revenues of $8.264 billion, net
                                         income of $913.5 million, and GAAP EPS of $2.67;




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Maker(s) of statements:                      (2) Attributing the source of Valeant’s growth to
Pearson (signed); Schiller (signed);         “our lower risk, output-focused research and
Valeant                                      development model, which allows us to advance
                                             certain development programs to drive future
                                             commercial growth, while minimizing our research
                                             and development expense”;
                                             (3) Claiming “[g]eneric versions are generally
                                             significantly less expensive than branded versions,
                                             and, where available, may be required in preference
                                             to the branded version under third party
                                             reimbursement programs, or substituted by
                                             pharmacies” and “[t]o successfully compete for
                                             business with managed care and pharmacy benefits
                                             management organizations, we must often
                                             demonstrate that our products offer not only medical
                                             benefits but also cost advantages as compared with
                                             other forms of care [.]”


Shelf Registration Statement issued on       “Salix has a number of pipeline products that may      Same as above.
June 10, 2013 and Form 424B5                 not align with our lower risk, output-focused R&D
Prospectus Supplement issued on March        model[.]”
18, 2015 in connection with Valeant’s
March 2015 $1.45 billion public offering
of common stock

Maker(s) of statements:
Pearson (signed Registration Statement);
Schiller (signed Registration Statement) ;
Valeant
1Q15 earnings press release issued on        “Same Store Sales Organic Growth was 15%, driven       Same as above.
April 29, 2015                               by:
                                                 •   Growth from launch brands, including
Maker(s) of statements:                              BioTrue Multipurpose Solution, BioTrue
                                                     ONEday Contact Lens, Jublia, Luzu, and



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Valeant                                           Ultra Contact Lens
                                              •   Double digit growth in U.S. businesses
                                                  such as Contact Lens, Dermatology,
                                                  Neurology and Other, Obagi, and Oral
                                                  Health[.]”
1Q15 earnings conference call on April    (1) Pearson: “Our US dermatology business had an         Same as above.
29, 2015                                  outstanding quarter. Dermatology revenue grew
                                          38% year on year and script growth grew 37% year
                                          on year. Jublia scripts grew 87% in Q1 versus Q4 of
Maker(s) of statements:
                                          last year.
Pearson; Schiller; Valeant
                                                                    ***
                                          In terms of price volume, actually volume was
                                          greater than price in terms of our growth. Outside
                                          the United States it’s all volume. . . . And in the US
                                          it’s shifting more to volume than price, and we
                                          expect that to continue with our launch brands.
                                          A lot of our prices for most of our products are
                                          negotiated with managed care. And there’s only a
                                          limited amount of price that we can take.”

                                          (2) Schiller: “I’ve completely bought into our
                                          unique strategy and culture, the transparency and
                                          fact-based approach to running our business, and
                                          our relentless focus on building a great Company
                                          and on creating shareholder value. . . . Valeant’s
                                          business has never been stronger and its prospects
                                          have never been brighter[.]”


1Q15 Form 10-Q issued on April 30, 2015   (1) Reporting 1Q15 revenue of $2.191 billion;            Same as above.
                                          (2) “The growth of our business is further
Maker(s) of statements:                   augmented through our lower risk, output focused
Pearson (signed); Schiller (signed);      research and development model, which allows us to
Valeant                                   advance certain development programs to drive
                                          future commercial growth, while minimizing our




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                                             research and development expense. We believe this
                                             strategy will allow us to maximize both the growth
                                             rate and profitability of the Company and to
                                             enhance shareholder value.”

Annual Meeting of Shareholders on May        (1) “we have a differentiated R&D model that has        Same as above.
19, 2015                                     and will continue to deliver more innovative
                                             products to our customers at a lower cost than our
                                             competitors”;
Maker(s) of statements:
Pearson; Valeant                             (2) “We’ve delivered three consecutive strong
                                             quarters of organic growth, 19% and 16% and 15%
                                             respectively”;
                                             (3) Valeant had a “unique executive compensation
                                             system tied to generating disproportionate returns
                                             for our shareholders.”

2Q15 earnings press release issued on July   (1) “Same Store Sales Organic Growth was 19%,           Same as above.
23, 2015                                     driven by: U.S. businesses, driven by the strength of
                                             dermatology, contact lenses, dental and Obagi.”
Maker(s) of statements:                      (2) Pearson: “We once again exceeded our
Pearson; Valeant                              guidance and delivered our fourth consecutive
                                              quarter of greater than 15% organic growth. Our
                                              strong second quarter results were driven by
                                              outperformance in our U.S. businesses, strong
                                              results in certain emerging markets and outstanding
                                              starts to both the Salix and Dendreon acquisitions.”

2Q15 earnings conference call on July 23,    (1) “We have now delivered four consecutive             Same as above.
2015                                         quarters of more than 15% same-store organic
                                             growth. Strong performance throughout our
                                             businesses resulted in both our top and bottom line
Maker(s) of statements:
                                             exceeding the Q2 guidance that we provided on our
Pearson; Valeant                             last call.
                                                                    ***
                                             Turning to organic growth, our overall same-store




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                                         total company organic growth was 19% for the
                                         quarter. The exceptional growth of our US
                                         businesses driven by the strength of dermatology,
                                         contact lenses, dental and Obagi was complimented
                                         by many of our emerging markets including China,
                                         Middle East/North Africa, Russia and South Korea.
                                                                  ***
                                         Jublia is now our second largest product with annual
                                         run-rates sales of approximately $450 million. . . .
                                         Our US dermatology business had another excellent
                                         quarter with our launch brands leading the way.
                                         Both launch and core brands contributed to the
                                         dermatology revenue growth of 55% year-on-year.
                                         Jublia scripts grew 37% in Q2 versus Q1[.]”;

                                         (2) “I think most pharma companies that I’m aware
                                         of, as the product gets into the last stages of their
                                         life, like Glumetza -- we’re going to lose Glumetza
                                         within six months -- often price increases are taken
                                         at the end. So that was just consistent with what
                                         most companies do. Our view on pricing -- across
                                         most of our portfolio, we do not take prices. Outside
                                         the US, there’s like zero price. I think, David, as we
                                         get more and more into segments like contact lenses
                                         and consumer products and other devices, we’re not
                                         able to take price. So we’re opportunistic when it
                                         comes to price. But our base strategy is, how do we
                                         grow organically through volume, which is -- I think
                                         this quarter, we once again exhibited our ability to
                                         do so.”


2Q15 Form 10-Q issued on July 28, 2015   (1) Reported revenues for the six months ended           Same as above.
                                          June 30, 2015 of $4.923 billion;
Maker(s) of statements:




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Pearson (signed); Rosiello (signed);   (2) “As is customary in the pharmaceutical industry,
Valeant                                 our gross product sales are subject to a variety of
                                        deductions in arriving at reported net product sales.
                                        Provisions for these deductions are recorded
                                        concurrently with the recognition of gross product
                                        sales revenue and include cash discounts and
                                        allowances, chargebacks, and distribution fees,
                                        which are paid to direct customers, as well as rebates
                                        and returns, which can be paid to both direct and
                                        indirect customers. . . . Provisions as a percentage of
                                        gross sales increased to 32% and 33% for the second
                                        quarter and first half of 2015, respectively,
                                        compared with 27% and 26% in the second quarter
                                        and first half of 2014. The increase was driven by (i)
                                        higher provisions for rebates, chargebacks, and
                                        returns, including managed care rebates for Jublia®
                                        and the copay assistance programs for launch
                                        products including Jublia®, Onexton®, and Retin-A
                                        Micro® Microsphere 0.08% (“RAM 0.08%”) . . .”;

                                       (3) “The growth of our business is further
                                        augmented through our lower risk, output-focused
                                        research and development model, which allows us to
                                        advance certain development programs to drive
                                        future commercial growth, while minimizing our
                                        research and development expense.”
3Q15 Form 10-Q issued on October 26,   (1) Reporting the Company’s revenue for the nine           Same as above.
2015                                    months ended September 30, 2015 of $7.71 billion;

Maker(s) of statements:                (2) “Excluding the items described above, we
Pearson (signed); Rosiello (signed);    realized incremental product sales revenue from the
Valeant                                 remainder of the existing business of $236 million
                                        and $820 million in the third quarter and first nine
                                        months of 2015, respectively. The growth, which
                                        incorporates sales directly to wholesalers and




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                 retailers as well as use of specialty pharmacies
                 (primarily Philidor), reflected (1) higher sales of (i)
                 Jublia® (launched in mid-2014), (ii) the Retin-A®
                 franchise (including the launch of RAM 0.08% in
                 mid-2014), (iii) Xenazine®, (iv) Arestin®, (v)
                 Solodyn®, and (vi) the Carac® franchise, and (2)
                 higher sales from other recent product launches,
                 including the launches of Biotrue® ONEday,
                 Bausch + Lomb Ultra®, and Onexton®”;

                (3) “The growth of our business is further
                 augmented through our lower risk, output-focused
                 research and development model, which allows us
                 to advance certain development programs to drive
                 future commercial growth, while minimizing our
                 research and development expense[.]”




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II.      STATEMENTS REGARDING VALEANT’S RELATIONSHIP WITH PHILIDOR AND OTHER PURPORTEDLY
         INDEPENDENT ENTITIES

Document/“Maker(s)” of the                   Statements Regarding Philidor and Other                 Why Statements Were False or Misleading When Made
Statement(s)                                 Purportedly Independent Entities


Valeant Form 10-Qs for 1Q13, 2Q13,           “pricing and sales volume of certain of our             Those statements were false or misleading when made
3Q13, 1Q14, 2Q14, 3Q14, 1Q15, and            products . . . are distributed by third parties, over   because:
2Q15; and Form 10-Ks for 2013 and 2014.      which we have no or limited control”
                                                                                                     (1) as detailed in ¶¶ 51-78 and 88-99 of the Complaint,
Maker(s) of Statement:                                                                               Philidor was formed with the assistance and for the benefit
Pearson (signed all); Schiller (signed 10-                                                           of Valeant to increase the sales prices of Valeant-branded
Qs and 10-Ks before 2Q15); Rosiello                                                                  pharmaceutical products and to avoid substitution of
(signed 2Q15 10-Q); Valeant                                                                          Valeant drugs with competing generic products; Valeant
                                                                                                     employees worked at Philidor; Valeant was Philidor’s only
                                                                                                     client and had the ability to shutter its business; Valeant
                                                                                                     paid Philidor’s owners $100 million for the right to acquire
                                                                                                     Philidor for $0; Valeant was consolidating Philidor’s results
                                                                                                     as its own, and had obtained explicit rights to direct
                                                                                                     Philidor’s activities; and those facts were being concealed
                                                                                                     by Valeant from private payors, patients, physicians, PBMs,
                                                                                                     and investors;

                                                                                                     (2) as detailed in ¶¶ 51-78 and 88-99 of the Complaint,
                                                                                                     Valeant materially increased its sales volume through
                                                                                                     Philidor as Philidor expanded its network of pharmacies
                                                                                                     and began selling in states where it did not have, or had
                                                                                                     been denied, a license; and

                                                                                                     (3) as detailed in ¶¶ 108-25 of the Complaint, Valeant
                                                                                                     improperly recognized Philidor revenue, in violation of
                                                                                                     GAAP, causing Valeant’s revenues, net income, and EPS to
                                                                                                     be materially misstated.




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III.     STATEMENTS REGARDING INTERNAL CONTROLS, LEGAL COMPLIANCE, AND THE INTEGRITY OF ITS
         REPORTED FINANCIAL RESULTS

         A.       Statements Regarding Internal Controls

Document/“Maker(s)” of the              Statements Regarding Internal Controls                   Why Statements Were False or Misleading When Made
Statement(s)

1Q13 10-Q                               “Our management, with the participation of our           Those statements were false or misleading when made, for
                                        CEO and Chief Financial Officer (‘CFO’), has             the reasons detailed in the Complaint. See, e.g., ¶¶ 34-139.
                                        evaluated the effectiveness of our disclosure controls   In sum:
Maker(s) of statement:
                                        and procedures as of March 31, 2013. Based on this
Pearson (signed); Schiller (signed);    evaluation, our CEO and CFO concluded that our           (1) Valeant’s business strategy relied on a series of
Valeant                                 disclosure controls and procedures were effective as     deceptive practices, which drove the Company’s growth
                                        of March 31, 2013.”                                      in revenues and sales of its key dermatology, neurology,
                                                                                                 and other products. Those practices included massive
                                                                                                 price increases for Valeant drugs, which allowed the
                                                                                                 Company to meet financial targets; routing patients into
                                                                                                 Valeant’s secret network of captive pharmacies that were
                                                                                                 falsely made to appear independent; using patient
                                                                                                 assistance and public relations strategies (such as waiving
                                                                                                 patient copays) to minimize patient complaints; and
                                                                                                 concealing those practices from payors, physicians, and
                                                                                                 others to obtain reimbursement for Valeant’s high-priced
                                                                                                 drugs.

                                                                                                 (2) Defendants’ business model relied on improper
                                                                                                 practices by Philidor, which Valeant used to acquire
                                                                                                 interests in additional retail pharmacies throughout the
                                                                                                 United States. Unbeknownst to investors, (i) Philidor was
                                                                                                 formed to increase the sales prices of Valeant drugs and to
                                                                                                 avoid substitution of those drugs with competing generic
                                                                                                 products; (ii) Valeant employees worked at Philidor; (iii)
                                                                                                 Valeant was Philidor’s only client and had the ability to
                                                                                                 shutter its business; (iv) Valeant paid Philidor’s owners
                                                                                                 $100 million for the right to acquire Philidor for $0; (v)
                                                                                                 Valeant was consolidating Philidor’s results as its own,



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                                                     and had obtained explicit rights to direct Philidor’s
                                                     activities; and (vi) Valeant materially increased its sales
                                                     volume through Philidor as Philidor expanded its network
                                                     of pharmacies and began selling in states where it did not
                                                     obtain, or had been denied, a license.

                                                     (3) Further, Philidor employees, as well as Valeant
                                                     employees staffed at Philidor, were instructed to employ a
                                                     host of deceptive practices—referred to in manuals
                                                     distributed to employees as “back door approaches” to
                                                     receiving payment from insurance companies—to prevent
                                                     the substitution of generic equivalents for Valeant-
                                                     branded drugs. Those “approaches” included changing
                                                     prescription codes on claims to require that the
                                                     prescriptions be filled with Valeant drugs; making claims
                                                     for refills that were never requested by patients;
                                                     misrepresenting the identity of dispensing pharmacies to
                                                     bypass denials of claims for Valeant drugs; and submitting
                                                     claims that inflated the prices charged by failing to take
                                                     into account Valeant’s waivers of patient copays.

                                                     (4) Valeant’s reported revenues, EPS, and financial
                                                     forecasts to investors during the Relevant Period depended
                                                     on the Company’s ability to continue to conceal its
                                                     deceptive practices and did not accurately portray the
                                                     Company’s financial performance and business prospects.
                                                     To that end, Valeant improperly recognized Philidor-
                                                     related revenue, in violation of GAAP, causing Valeant’s
                                                     revenues, net income, and EPS to be materially misstated
                                                     during the Relevant Period.

                                                     (5) Valeant lacked adequate internal controls, as well as
                                                     compliance and training programs, and contrary to their
                                                     representations to investors, Defendants were not
                                                     committed to compliance with governing legal,
                                                     regulatory, or contractual obligations.




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                                                                                                    (6) Valeant’s undisclosed practices significantly increased
                                                                                                    the Company’s exposure to, among other things,
                                                                                                    government investigations, regulatory sanctions, criminal
                                                                                                    charges, reputational harm, violations of contracts,
                                                                                                    decreased sales, and heightened public scrutiny. Valeant
                                                                                                    thus was not, as Defendants represented to investors,
                                                                                                    employing a “lower risk, output-focused research and
                                                                                                    development model,” but rather a strategy that subjected
                                                                                                    the Company to enormous risk.



Valeant Form 10-Qs for 2Q13, 3Q13,           Substantially the same as above.                       Same as above.
1Q14, 2Q14, 3Q14, 1Q15, 2Q15, and
3Q15; and Form 10-Ks for 2013 and 2014.

Maker(s) of statement:
Pearson (signed all); Schiller (signed 10-
Qs and 10-Ks before 2Q15); Rosiello
(signed 2Q15 and 3Q15 10-Qs); Valeant



         B.       Statements in Certifications Under the Sarbanes-Oxley Act of 2002 (“SOX”)

Document/“Maker(s)” of the                   Statements in SOX Certifications                       Why Statements Were False or Misleading When Made
Statement(s)

SOX certifications in Valeant Form 10-Qs     (1) the report did not “contain any untrue statement   Those statements were false or misleading when made, for
for 1Q13, 2Q13, 3Q13, 1Q14, 2Q14,            of a material fact or omit to state a material fact    the reasons detailed in the Complaint. See, e.g., ¶¶ 34-139.
3Q14, 1Q15, 2Q15, and 3Q15; and Form         necessary to make the statements made, in light of     In sum:
10-Ks for 2013 and 2014.                     the circumstances under which such statements were
                                             made, not misleading with respect to the period        (1) Valeant’s business strategy relied on a series of
                                             covered by th[e] report”;                              deceptive practices, which drove the Company’s growth
Maker(s) of statement:                                                                              in revenues and sales of its key dermatology, neurology,
Pearson (as to all); Schiller (as to 10-Qs                                                          and other products. Those practices included massive
                                             (2) “[b]ased on [his] knowledge, the financial



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and 10-Ks before 2Q15); Rosiello (as to   statements, and other financial information included         price increases for Valeant drugs, which allowed the
2Q15 and 3Q15 10-Qs); Valeant (as to all) in this report, fairly present in all material respects      Company to meet financial targets; routing patients into
                                          the financial condition, results of operations and cash      Valeant’s secret network of captive pharmacies that were
                                          flows of the Company as of and for, the periods              falsely made to appear independent; using patient
                                          presented in th[e] report”;                                  assistance and public relations strategies (such as waiving
                                                                                                       patient copays) to minimize patient complaints; and
                                                                                                       concealing those practices from payors, physicians, and
                                            (3) Pearson, Schiller, and/or Rosiello (a)
                                                                                                       others to obtain reimbursement for Valeant’s high-priced
                                            “[d]esigned . . . disclosure controls and procedures,
                                                                                                       drugs.
                                            or caused . . . disclosure controls and procedures to
                                            be designed under [their] supervision, to ensure that
                                                                                                       (2) Defendants’ business model relied on improper
                                            material information relating to the Company,
                                                                                                       practices by Philidor, which Valeant used to acquire
                                            including its consolidated subsidiaries, is made
                                                                                                       interests in additional retail pharmacies throughout the
                                            known to [them] by others within those entities,
                                                                                                       United States. Unbeknownst to investors, (i) Philidor was
                                            particularly during the period in which this report is
                                                                                                       formed to increase the sales prices of Valeant drugs and to
                                            being prepared; (b) “[d]esigned such internal control
                                                                                                       avoid substitution of those drugs with competing generic
                                            over financial reporting, or caused such internal
                                                                                                       products; (ii) Valeant employees worked at Philidor; (iii)
                                            control over financial reporting to be designed under
                                                                                                       Valeant was Philidor’s only client and had the ability to
                                            [their] supervision, to provide reasonable assurance
                                                                                                       shutter its business; (iv) Valeant paid Philidor’s owners
                                            regarding the reliability of financial reporting and the
                                                                                                       $100 million for the right to acquire Philidor for $0; (v)
                                            preparation of financial statements tor external
                                                                                                       Valeant was consolidating Philidor’s results as its own,
                                            purposes in accordance with [GAAP]”; (c)
                                                                                                       and had obtained explicit rights to direct Philidor’s
                                            “[e]valuated the effectiveness of the Company’s
                                                                                                       activities; and (vi) Valeant materially increased its sales
                                            disclosure controls and procedures and presented in
                                                                                                       volume through Philidor as Philidor expanded its network
                                            th[e] report [their] conclusions about the
                                                                                                       of pharmacies and began selling in states where it did not
                                            effectiveness of the disclosure controls and
                                                                                                       obtain, or had been denied, a license.
                                            procedures, as of the end of the period covered by
                                            th[e] report based on such evaluation”; and (d)
                                                                                                       (3) Further, Philidor employees, as well as Valeant
                                            “[d]isclosed in th[e] report any change in the
                                                                                                       employees staffed at Philidor, were instructed to employ a
                                            Company’s internal control over financial reporting
                                                                                                       host of deceptive practices—referred to in manuals
                                            that occurred during the Company’s most recent
                                                                                                       distributed to employees as “back door approaches” to
                                            fiscal quarter that ha[d] materially affected, or [wa]s
                                                                                                       receiving payment from insurance companies—to prevent
                                            reasonably likely to materially affect, the Company’s
                                                                                                       the substitution of generic equivalents for Valeant-
                                            internal control over financial reporting”; and
                                                                                                       branded drugs. Those “approaches” included changing
                                                                                                       prescription codes on claims to require that the
                                            (4) Pearson, Schiller, and/or Rosiello “[d]isclosed,       prescriptions be filled with Valeant drugs; making claims
                                            based on [their] most recent evaluation of internal        for refills that were never requested by patients;



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                control over financial reporting, to the Company’s      misrepresenting the identity of dispensing pharmacies to
                auditors and the audit committee of the Company’s       bypass denials of claims for Valeant drugs; and submitting
                board of directors (or persons performing the           claims that inflated the prices charged by failing to take
                equivalent functions):                                  into account Valeant’s waivers of patient copays.

                                                                        (4) Valeant’s reported revenues, EPS, and financial
                     (a) All significant deficiencies and material
                                                                        forecasts to investors during the Relevant Period depended
                     weaknesses in the design or operation of
                                                                        on the Company’s ability to continue to conceal its
                     internal control over financial reporting which
                                                                        deceptive practices and did not accurately portray the
                     [we]re reasonably likely to adversely affect the
                                                                        Company’s financial performance and business prospects.
                     Company’s ability to record, process,
                                                                        To that end, Valeant improperly recognized Philidor-
                     summarize and report financial information,
                                                                        related revenue, in violation of GAAP, causing Valeant’s
                     and
                                                                        revenues, net income, and EPS to be materially misstated
                                                                        during the Relevant Period.
                     (b) Any fraud, whether or not material, that
                      involve[d] management or other employees          (5) Valeant lacked adequate internal controls, as well as
                      who ha[d] a significant role in the Company’s     compliance and training programs, and contrary to their
                      internal control over financial reporting.”       representations to investors, Defendants were not
                                                                        committed to compliance with governing legal,
                                                                        regulatory, or contractual obligations.

                                                                        (6) Valeant’s undisclosed practices significantly
                                                                        increased the Company’s exposure to, among other things,
                                                                        government investigations, regulatory sanctions, criminal
                                                                        charges, reputational harm, violations of contracts,
                                                                        decreased sales, and heightened public scrutiny. Valeant
                                                                        thus was not, as Defendants represented to investors,
                                                                        employing a “lower risk, output-focused research and
                                                                        development model,” but rather a strategy that subjected
                                                                        the Company to enormous risk.

                                                                        (7) Accordingly, Defendants’ SOX certifications falsely
                                                                        stated the accompanying SEC filings did not contain any
                                                                        untrue statement of material fact or omit to state a material
                                                                        fact necessary to make the statements made in those
                                                                        filings not misleading.




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                                                     Additionally, SOX required the use of an appropriate
                                                     framework in making the assessments to which Pearson
                                                     and Schiller attested in their SOX certifications, such as
                                                     the Committee of Sponsoring Organizations, Internal
                                                     Control – Integrated Framework (“COSO Framework”).
                                                     During the Relevant Period, Valeant’s financial statements
                                                     falsely represented that management’s evaluations were
                                                     based on the COSO Framework.




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